              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


RONALD LEE COOPER,


                               Plaintiff,
vs.
                                                 Civil Action No.:
EQUIFAX INFORMATION                          I
SERVICES, LLC; EXPERIAN                          1:21-cv-02526-LMM-CCB
INFORMATION SOLUTIONS, INC;
and TRANS UNION, LLC,


                            Defendants.

      STIPULATION TO DISMISS AS TO TRANS UNION, LLC ONLY
      Plaintiff Ronald Lee Cooper, and Defendant Trans Union LLC, by counsel,

and through their respective signatures below, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), stipulate to dismiss this case, with prejudice, both sides

to bear their own fees and costs.

Dated: September 30, 2021

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